Case 4:20-cv-00957-SDJ Document 260-1 Filed 02/21/24 Page 1 of 5 PageID #: 7366




                APPENDIX A
     Case 4:20-cv-00957-SDJ Document 260-1 Filed 02/21/24 Page 2 of 5 PageID #: 7367




                  Appendix A: The Statutes of Limitation Are Tolled or Do Not Apply

 State        Statute         Doctrine                                    Authority
                                       Alaska Stat. Ann. § 09.10.120(a) (“limitation commences from the time of
                            Discovery discovery by the aggrieved party of the facts constituting the fraud.” (emphasis
             Alaska Stat.      Rule    added)); Jones v. Westbrook, 379 P.3d 963, 969-70 (Alaska 2016) (applying
                Ann. §                 the Discovery Rule to a UTPCA claim).
Alaska      09.10.120 (6               Reich v. Cominco Alaska, Inc., 56 P.3d 18, 25-26 (Alaska 2002) (“The
                years)      Continuing
                                       continuing violations doctrine allows plaintiffs to establish an ongoing tort
                            Violations
                                       through incidents that occurred before the statute of limitations period and that
                             Doctrine
                                       continued into the limitations period.”).
           Ark. Code Ann.              Ark. Code Ann. § 4-75-217(b) (“The statute of limitations . . . shall be tolled
                            Fraudulent
Arkansas    § 4-75-217(a)              during any period when the defendant in any action fraudulently concealed the
              (5 years)    Concealment
                                       events upon which the cause of action is based.”).
                                       In re Takata Airbag Prods. Liab. Litig., 255 F. Supp. 3d 1241, 1258-59 (S.D.
                            Fraudulent
                                       Fla. 2017) (FDUTPA’s “statute of limitations could be equitably tolled due to
                           Concealment
                                       Honda’s alleged fraudulent concealment.”).
             Fla. Stat. §
                                       Fla. Stat. § 95.031(2)(a) (Time to bring “[a]n action founded upon fraud . . .
Florida     95.11(3)(e) (4
                years)                 run[s] from the time the facts giving rise to the action were discovered or
                            Discovery
                                       should have been discovered with the exercise of due diligence”); Sundance
                               Rule
                                       Apartments I, Inc. v. Gen. Elec. Cap. Corp., 581 F. Supp. 2d 1215, 1223 (S.D.
                                       Fla. 2008) (FDUTPA claim did not accrue until discovery).
                                       Idaho Code Ann. § 5-224 (“An action . . . must be commenced within four (4)
                                       years after the cause of action shall have accrued.” (emphasis added));
                            Discovery
                                       Performance Chevrolet, Inc. v. Market Scan Info. Sys., Inc., 402 F. Supp. 2d
            Idaho Code §       Rule
                                       1166, 1171-72 (D. Idaho 2005) (“claims accrue when the plaintiff discovers
 Idaho       5-224 (four
                years)                 the facts constituting the fraud” (emphasis added)).
                            Continuing Performance Chevrolet, Inc., 402 F. Supp. 2d at 1171-72 (“the accrual date
                            Violations [for ICPA claims] may be extended if there are continuing violations”).
                             Doctrine
           Ind. Code § 24-             Ind. Code Ann. § 34-11-5-1 (“If a person liable to an action conceals the fact
                            Fraudulent
Indiana    5-0.5-5(b) (two             from the knowledge of the person entitled to bring the action, the action may
                years)     Concealment
                                       be brought at any time within the period of limitation after the discovery of

                                                     1
     Case 4:20-cv-00957-SDJ Document 260-1 Filed 02/21/24 Page 3 of 5 PageID #: 7368




  State        Statute         Doctrine                                         Authority
                                             the cause of action.”); Carroll v. BMW of N. Am., LLC, 553 F. Supp. 3d 588,
                                             613-14 (S.D. Ind. 2021) (“The statute of limitations may be tolled if the
                                             defendant fraudulently conceals the action giving rise to liability.”); Butler
                                             Motors, Inc. v. Benosky, 181 N.E.3d 304, 322 (Ind. App. 2021).
                                             State v. Classic Pool & Patio, Inc., 777 N.E.2d 1162, 1166 (Ind. App. 2002)
                              Continuing
                                             (“where . . . allegedly deceptive acts occurring during a transaction that takes
                              Violations
                                             place over the course of more than one day, the statute of limitations is
                               Doctrine
                                             triggered by the date of each occurrence.”).
            Ky. Rev. Stat.    Continuing     Corder v. Ethicon, Inc., 473 F. Supp. 3d 749, 770 (E.D. Ky. 2020) (rejecting
            §§ 413.120(2)-                   the “discovery rule” for DTPA claims but endorsing a “delayed accrual”
Kentucky     (3), 413.150
                              Violations
                               Doctrine      approach for continuing torts).
             (five years)
                             Statutes of La. Const. Ann. art. XII, § 13 (“Prescription shall not run against the state in
                             Limitation any civil matter . . .”).
Louisiana   Not Applicable
                            Do Not Apply
                             to the State
                                          Miss. Const. art. IV, § 104 (“Statutes of limitation in civil causes shall not run
                             Statutes of
                                          against the state, or any subdivision or municipal corporation thereof.”); Miss.
 Missis-                     Limitation
            Not Applicable                Code. Ann. § 15-1-51 (same); Mississippi ex rel. Fitch v. Eli Lilly & Co., No.
 sippi                      Do Not Apply
                                          3:21-cv-674, 2022 WL 18401603, at *2 (S.D. Miss. Aug. 29, 2022) (The
                             to the State
                                          “statute of limitations does not run against the State in Mississippi.”).
                                          Mo. Ann. Stat.§ 516.120(5) (Claim does not “accrue[] until the discovery by
                                          the aggrieved party, at any time within ten years, of the facts constituting the
               Mo. Ann.
                              Discovery fraud.”); Ulrich v. CADCO, Inc., 244 S.W.3d 772, 778 (Mo. Ct. App. 2008)
Missouri    Stat.§ 516.120
              (five years)       Rule     (“A claim alleging a violation of the MMPA based on a contract must be filed
                                          within five years from the time the plaintiff discovers he sustained damage
                                          as a result of the violation.” (emphasis added)).
             Mont. Code                   Mont. Code Ann. § 27-2-102(3) (“The period of limitation does not begin on
             Ann. § 27-2-                 any claim or cause of action for an injury to person or property until the facts
                              Discovery
Montana     211 (two years                constituting the claim have been discovered or, in the exercise of due
            for “actions to      Rule
                                          diligence, should have been discovered by the injured party if: (a) the facts
                enforce                   constituting the claim are by their nature concealed or self-concealing; or (b)


                                                       2
     Case 4:20-cv-00957-SDJ Document 260-1 Filed 02/21/24 Page 4 of 5 PageID #: 7369




 State        Statute          Doctrine                                      Authority
              penalty”);                 before, during, or after the act causing the injury, the defendant has taken
              Mont. Code                 action which prevents the injured party from discovering the injury or its
             Ann. § 27-2-                cause.” (emphases added)); Mont. Code Ann. § 27-2-203 (a cause of action
           203 (two years                based on “fraud or mistake” is “not deemed to have accrued until the discovery
             for “fraud or
                                         by the aggrieved party of the facts constituting the fraud or mistake”);
              mistake”);
              Mont. Code                 Hein v. Sott, 353 P.3d 494, 498 (Mont. 2015) (“However, if a defendant ‘has
             Ann. § 27-2-                taken action which prevents the injured party from discovering [an] injury or
                              Fraudulent
              204 (three                 its cause,’ the limitations period does not begin ‘until the facts constituting the
                             Concealment
            years for tort               claim have been discovered or . . . should have been discovered.’”) (quoting
               actions)                  Mont. Code Ann. § 27-2-102(3)(b)).
           Nev. Rev. Stat.               Nev. Rev. Stat. § 11.190(2)(d) (claim “accrue[s] when the aggrieved party
            § 11.190(2)(d)               discovers, or by the exercise of reasonable diligence should have discovered,
           (four years for               the facts constituting the deceptive trade practice.” (emphasis added)); U.S.
              consumer        Discovery Bank Nat’l Ass’n v. Fidelity Nat’l Title Grp., Inc., No. 2:21-cv-0257-JAD-
Nevada        protection         Rule    EJY, 2022 WL 1665212, at *2-3 (D. Nev. May 24, 2022) (applying the
           claims brought
           before October                Discovery Rule to the Nevada DTPA).
               31, 2021)
              N.D. Cent.                    N.D. Cent. Code Ann. § 51-15-12 (“The period of limitation for a claim for
North        Code Ann. §      Discovery     relief may not be deemed to have accrued until the aggrieved party discovers
Dakota      51-15-12 (four      Rule        the facts constituting the violation of this chapter.” (emphasis added)).
                 years)
                                            Sanchez et al. v. A.E.E., 142 P.R. Offic. Trans. 880 (P.R. 1997) (“under the
           10 L.P.R.A. §                    discovery rule that governs in our jurisdiction . . . the statute of limitations of
Puerto                        Discovery
             268 (four                      a cause of action begins to run as of the moment the victim of such damage
 Rico                           Rule
              years)                        learns of the same and is in a position to exercise the pertinent cause of
                                            action.”).
                                            S.C. Code Ann. § 39-5-150 (“No action may be brought under this article more
             S.C. Code                      than three years after discovery of the unlawful conduct which is the subject
 South                        Discovery
             § 39-5-150                     of the suit.” (emphasis added)); State ex rel. Wilson v. Ortho-McNeil-Janssen
Carolina                        Rule
            (three years)                   Pharms., Inc., 414 S.C. 33, 76, 777 S.E.2d 176, 198-99 (2015) (“Under the
                                            discovery rule, the three-year clock starts ticking on the date the injured party


                                                       3
    Case 4:20-cv-00957-SDJ Document 260-1 Filed 02/21/24 Page 5 of 5 PageID #: 7370




State       Statute         Doctrine                                       Authority
                                        either knows or should have known by the exercise of reasonable diligence
                                        that a cause of action arises from wrongful conduct.”).
                                        Magnolia North Prop. Owners' Ass'n, Inc. v. Heritage Cmtys., Inc., 725
                                        S.E.2d 112, 125 (S.C. Ct. App. 2012) (“The equitable power of a court is not
                                        bound by cast-iron rules but exists to do fairness and is flexible and adaptable
                            Equitable
                                        to particular exigencies so that relief will be granted when, in view of all the
                             Tolling
                                        circumstances, to deny it would permit one party to suffer a gross wrong at
                                        the hands of the other. Equitable tolling may be applied where it is justified
                                        under all the circumstances.”).
                                        S.D. Codified Laws § 37-24-33 (“No action under this chapter may be brought
          S.D. Codified                 more than four years after the occurrence or discovery of the conduct which
South                       Discovery
         Laws § 37-24-                  is the subject of the action.” (emphasis added)); see also Sturgis Motorcycle
Dakota                         Rule
         33 (four years)                Rally, Inc. v. Rushmore Photo & Gifts, Inc., 908 F.3d 313, 340-41 (8th Cir.
                                        2018) (applying the discovery rule).
                           Statutes of See, e.g., State v. Durham, 860 S.W.2d 63, 67 (Tex. 1993) (Texas “is not
                           Limitation subject to the defenses of limitations, laches, or estoppel.”); Molano v. State,
                         Do Not Apply No. 13-10-00477-CV, 2011 WL 3631968, at *4 (Tex. App. Corpus Christi-
                           to the State Edinburg Aug. 18, 2011) (applying this rule to the DTPA).
Texas    Not Applicable
                                        Tex. Bus. & Com. Code § 17.565 (“All actions brought under this subchapter
                            Discovery must be commenced . . . within two years after the consumer discovered or in
                               Rule     the exercise of reasonable diligence should have discovered the occurrence of
                                        the false, misleading, or deceptive act or practice.”).
          Utah Code §                   Utah Code Ann. § 78B-2-305(2); Fed. Trade Commission v. Nudge, LLC, 2022
                            Discovery
         78B-2-305(2);                  WL 2132695, at *47-48 (D. Utah June 14, 2022); Miller v. Corinthian
                               Rule
         § 13-11-17(6);                 Colleges, Inc., 769 F. Supp. 2d 1336, 1341 (D. Utah, Feb. 15, 2011).
           and § 13-2-     Continuing Pinder v. Duchesne Cnty. Sheriff, 478 P.3d 610, 626 (Utah 2020) (the
Utah     6(b) (five years Violations “continuing tort doctrine” “‘tolls the statute of limitations while . . . tortious
           for seeking      Doctrine    conduct continues unabated.’”); Miller, 769 F. Supp. 2d at 1341.
            fines for                   Miller, 769 F. Supp. 2d at 1341 (“Under Utah law, a statute of limitations may
                           Fraudulent
          violations of                 be tolled where a plaintiff does not become aware of the cause of action
                          Concealment
           the CSPA)                    because of the defendant’s concealment or misleading conduct.”).


                                                    4
